                                                   Form 1B

         Notice of Appeal to a Court of Appeals From an Appealable Order of a District Court

                      United States District Court for the _District of Columbia___
                                        District of _Columbia__
                                   Docket Number _1:20-cv-03389__


    Brije Smith.,

    Plaintiff,                                          Notice of Appeal

    v.

    DISTRICT OF COLUMBIA
    GOVERNMENT.,

    Defendant,

__Brije Smith ____________ (name all parties taking the appeal) appeal to the United States Court
of Appeals for the DC Circuit from the order _of Dismissal_ (describe the order) entered on
12/14/2021_______ (state the date the order was entered).


                                                                     (s) __Charles T. Tucker Jr.________
                                                           Attorney for __Brije Smith________________
                                                                Address: 8181 Professional PL Suite 207
                                                                           _______Hyattsville MD 20785

[Note to inmate filers: If you are an inmate confined in an institution and you seek the timing
benefit of Fed. R. App. P. 4(c)(1), complete Form 7 (Declaration of Inmate Filing) and file that
declaration with this Notice of Appeal.]




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    See Rule 3(c) for permissible ways of identifying appellants.
